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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

CUTBERTO VIRAMONTES, et al.,                       )
                                                   )
                       Plaintiffs,                 )
                                                   )
               v.                                  )       No. 21 CV 4595
                                                   )
THE COUNTY OF COOK, et al.,                        )       Judge Rebecca R. Pallmeyer
                                                   )
                       Defendants.                 )

                                               ORDER

       The court directs the parties to be prepared to address issues as described below.

                                            STATEMENT

       On January 31, Plaintiffs moved to stay this case pending the resolution of Harrel v. Raoul,

3:23-cv-00141 (S.D. Ill.), which challenges the newly-enacted statewide assault weapons ban.

(See [69], [70].) Defendants objected to the motion, and the court set a March 8 date for hearing

on the stay request [74]. Since the time that hearing was scheduled, Judge Kendall of this court

has denied a motion for a temporary restraining order preventing the enforcement of similar

laws—including the statewide law and a similar ordinance in Naperville. Judge Kendall concluded

that both the state statute and the Naperville ordinance are “consistent with the Second

Amendment’s text, history, and tradition,” and that the plaintiffs in that case were therefore unlikely

to succeed on the merits of their claim. See Bevis v. City of Naperville, No. 22-cv-4775, 2023 WL

2077392, at *3 (N.D. Ill. Feb. 17, 2023). Plaintiffs in Bevis have since filed a notice of appeal.

See Notice of Appeal [64], Bevis v. City of Naperville, No. 22-cv-4775 (Feb. 21, 2023).

       To focus the March 8 motion hearing, the court directs the parties to be prepared to

address the following issues:

   1. At what stage “litigation over the Illinois Ban” will be, in Plaintiffs’ view, “concluded.” (See

       [70] at 4.)
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   2. Whether Harrel remains relevant, in light of the court’s decision in Bevis and the respective

      timelines of the two cases.

   3. Whether a decision from the Seventh Circuit, either in Bevis or Harrel would be dispositive.

      In other words, whether the Cook County ban differs, for purposes of the Bruen framework,

      from the Naperville or statewide bans.



                                                 ENTER:



Dated: February 27, 2023                         ______________________________________
                                                 REBECCA R. PALLMEYER
                                                 United States District Judge




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